IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

IN THE MATTER OF THE

APPLICATloN or THE UNITED
STATES 0F AMERICA FoR A sEARCH C t Q,COG; g '~(S»]Q,<§
wARRANT To sEARcH THE THREE m N°'

CELLULAR TELEPHONES LOCATED
AT THE SALISBURY MARYLAND
POLICE DEPARTMENT

 

AFFIDAV]T IN SUPPORT OF A
SEARCH AND SEIZURE WARRANT

I, Special Agent (“SA") Amold Esposito Jr., of the Bureau of Alcohol, Tobacco, Firearms
and Explosives (ATF) being duly sworn, depose and state as follows:

I. lTEMS TO BE SEARCHED

 

l. This is an affidavit in support of a search warrant authorizing the search of the
following described more idlly in Attachment A:

0 SlJBJECT ELECTRONIC DEVICE 1: One Sarnsung cellular phone, Model
SM-GS$OT], SW: GS$OTIUVUIAPFI, FCC ID: A3LSMGSSOT, unknown serial
number.

0 SUBJECT ELECTRONIC DEVICE 2: One ANS cellular phone, Model UL40,
MEID HEX: 99000090559244, MEID DEC: 256691419205608004, FCC ID:
2ALZM-UL40, unknown serial number.
¢ SUBJECT ELECTRONIC DEVICE 3: One LG cellular phone, Model L8676,
Serial Number: 711CYLH3091128; collectively, “SUBJECT ELECTRONIC
DEVICES".
2. Based on the facts set forth in this affidavit, I respectfully submit that there is
probable cause to believe that there is presently concealed within SUBJECT ELECTRONIC
DEV]ICES evidence (described more_fully in Attachment B) of possession of firearms and

ammunition in violation of 18 U.S.C. § 922(g).

aims

3. I have personal knowledge of this investigation through my actual participation, as
weil as reports written by officers of the Salisbury Police Department (SPD) in Salisbury,
Maryland that I reviewed; I also spoke directly with officers involved in this arrest. Since this
affidavit is being submitted for the limited purpose of establishing probable cause for a search
warrant, f have not included every detail of every aspect of the investigation Rather, l have set
forth only those facts that I believe are necessary to establish probable cause. I have not, however,
excluded any information known to me that would defeat a determination of probable cause. All
conversations and statements described in this affidavit are related in substance and in part unless
otherwise indicated. 1

II. ‘ YOUR AFFIANT AND EXPERTISE

 

4. I have been an SA employed with the ATF since January 2015. I am currently
assigned to the Baltimore Field Division, Hyattsville-I field office, which is comprised of ATF
agents and detectives fi'om multiple jurisdictions throughout Maryland. I have participated in
numerous investigations focusing on controlled dangerous substance (CDS) trafficking, gangs,
firearms trafficking, and illegal firearms possession. I have conducted covert surveillance of
suspected CDS and/or firearms traffickers I have interviewed individuals suspected of being
involved in gangs, CDS trafficking, illegal firearms possession, and firearms trafficking l have
participated in two Title IlI wiretap investigations as a monitor and member of surveillance teams.
I have participated in the execution of multiple state and federal search warrants and arrest
operations involving CDS traffickers and violent offenders I have participated in operations that
have resulted in seizures of CDS, currency, firearms, and vehicles. As a result, I have learned

various methods employed by people who illegally possess and/or traffic firearms

jur

5. Based on my knowledge and experience, individuals involved with illegal firearms
possession frequently use cellular telephones in furtherance of their illegal activities. In addition,
l know that individuals engaging in illegal firearms possession often use cellular phones to obtain
and/or dispose of firearms These individuals often send messages and/or photographs of firearms
to other individuals in furtherance of such activity. Also, individuals who are prohibited from
legally purchasing firearms sometimes attempt to obtain firearms from associates who can
otherwise access, obtain, or purchase iirearms. Such communication and attempts can be
documented and stored on cellular phones in the form of call logs, voicemails, text messages, and
photographs between the prohibited person and their source of firearms These various forms of
communication can remain on cellular phones for extended periods.

III. PROBABLE CAUSE

6. On September 16, 2018, at approximately 2135 AM, SPD officers responded to 600
W. Railroad Avenue, Salisbury, Maryland to investigate a noise complaint The officers observed
multiple individuals walk away from the surrounding area as the officers pulled up to the building.
Shortly thereaftcr, the officers observed an abandoned backpack located outside of 600 W.
Railroad Avenue. They opened the backpack iii an attempt to ascertain the rightful owner of the
backpack. Inside the backpack officers found a loaded Smith & Wesson revolver, court documents
addressed to Bryan SIVELLS, and SUBJECT ELECTRONIC DEVICE l.

‘7. The officers reviewed a video recording obtained by a SPD video camera erected
near 600 W. Railroad Avenue. The recording revealed that a black male wearing a white shirt was
in possession of a backpack shortly before police arrived to the area. The officers immediately
recognized the individual with the backpack as SIVELLS due to encountering SIVELLS on

previous occasions

8. Officer Doyle obtained an arrest warrant authorizing the arrest of SIVELLS for
possession of handgun in violation of state law on September 16, 2018.

9. On September 17, 2018, SPD officers arrested SIVELLS inside 401 Elizabeth
Street, Apartment B, Salisbury, Maryland. Officer Doyle advised SIVELLS that he was under
arrest and instructed SIVELLS to retrieve whatever belongings he thought he needed. Officer
Doyle then observed SIVELLS retrieve SUBJECT ELECTRONIC DEVICE 2 andSUBJECT
ELECTRONIC DEVICE 3 located on a table adjacent to where SIVELLS was located within
the residence

lO. I examined the previously mentioned handgun recovered by SPD. I determined the
handgun was manufactured in Massachusetts. Theref`ore, the handgun traveled in interstate
commerce prior to its recovery in-Salisbury, nl‘\/laryland. I also determined that the handgun is a
“firearm” as defined in Title 18 U.S.C. § 921(a)(3).

ll. I obtained court documents from Baltimore City Circuit Court showing that
SIVELLS plead guilty to the charge of Attempted 2“" Degree Murder on October 7, 1999
(Baltimore City Circuit Court Case Number 199154065). Therefore, SIVELLS has been convicted
of at least one crime punishable by more than one year in prison prior to the events of September
16, 2018 in Salisbury, Maryland. SIVELLS is therefore prohibited from possessing a firearm
pursuant to is U.s.C. § 922(g). '

Iv. wounds

12. Based upon the information set forth in this affidavit, l respectfully submit that

sufficient probable cause exists to believe SUBJECT ELECTRONIC DEVICES contain

evidence that SIVELLS engaged in illegal firearms possession in violation of 18 U.S.C. § 922(g).

ina limine

13. WHEREFORE, in consideration of the facts presented, I respectfully request that
this Court issue search warrants for SUBJEC'I` ELECTRONIC DEVICE, as liirther described
in Attachrnent A, and authorize the search for items and information described in Attachment B

that constitute evidence of violations of 18 U.S.C. § 922(g).

ad a»./
Arnoldes‘posifo Jr.

Special Agent
Bureau of` Alcohol, Tobacco, Firearms and Explosives

..\'i-'
J" ‘H i."-`
4 \-

: "" _\ "‘
Swoin to befo'r'e`.rne_t»his£_ day of February, 2019.
-;, ..

 
 

 

The Hnnorabie siephan_i¢"A. callagha-
United States Magistl_'ate Judge

 

